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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                           May 01, 2025
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

    In re:                                                 §
                                                           §                  Case No. 25-90138
    Geden Holdings, Ltd.                                   §
                                                           §                  Chapter 15
              Debtor in a Foreign Proceeding               §


      ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR ENTRY OF AN
    ORDER (I) GRANTING EMERGENCY PROVISIONAL RELIEF FOR ISSUANCE OF
                THE AUTOMATIC STAY, AND (II) RELATED RELIEF

             Upon consideration of the Debtor’s Emergency Motion for Entry of an Order (I) Granting

Emergency Provisional Relief for Issuance of the Automatic Stay, and (II) for Related Relief (the

“Motion”)1 filed by the Foreign Representative as the “foreign representative” of the above-

captioned debtor (the “Debtor” or “Geden”); and upon the hearing on the Petition and this Court’s

review and consideration of the Petition, the Declaration; IT IS HEREBY FOUND AND

DETERMINED THAT:

             A.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

             B.     This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

             C.     Venue is proper before this Court pursuant to 28 U.S.C. § 1410. This Court has the

authority to enter a final order consistent with Article III of the United States Constitution.

             D.     Good, sufficient, appropriate, and timely notice of the filing of the Motion and the

hearing on the Motion has been given by the Foreign Representative, pursuant to Bankruptcy Rules

1011(b) and 2002(q), to: (a) the Office of the Untied States Trustee for the Southern District of

Texas; (b) counsel to Eclipse Liquidity, Inc., (c) Samsung C&T Deutsshland Gmbh, (d) counsel

to Advantage Tankers, LLC and Award Shipping, LLC, (e) Gulsun Nazli Karamehmet-Williams


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    Capitalized terms used by not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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and Courtney Williams (f) all persons authorized to administer the foreign proceeding of the

Debtor, (g) all parties to litigation pending in the United States in which the Debtor is a party as

of the Petition Date; (h) such other entities as this Court may direct.

         E.        The Court is authorized to enter the provisional relief sought inn the Motion by the

Foreign Representative under sections 1519, 1521(a)(7) and 105(a) of the Bankruptcy Code.

         F.        The relief requested in the Motion is urgently needed to protect the assets of the

Debtor and the interests of its creditors as required by 11 U.S.C. § 1519(a).

         G.        The relief requested in the Motion is warranted under 11 U.S.C. § 1519(e).

         H.        Based on the pleadings filed to date, the Court concludes that the Foreign

Representative has demonstrated a substantial likelihood of success on having the Malta

Proceeding recognized as a foreign proceeding pursuant to section 1517 of the Bankruptcy Code

         I.        The Foreign Representative has demonstrated that there is a material risk that the

Debtor will suffer irreparable harm in the absence of the relief sought in the Motion.

         J.        For purposes of this Order and the relief granted herein, the balance of harms favors

granting the relief requested in the Motion.

         K.        The interests of the Debtor’s creditors and other interested entities, including the

Debtor, are sufficiently protected in the Court's grant of the relief requested in the Motion, as

required by 11 U.S.C. § 1522(a).

         L.        Cause exists to extend the automatic stay under sections 105, 362, 1519, 1521, and

of the Bankruptcy Code on an interim and provisional basis as requested in the Motion.

         M.        Due to the nature of the relief requested, no security is required under Rule 65(c)

of the Federal Rules of Civil Procedure, as made applicable in chapter 15 cases by Bankruptcy

Rule 7065, if applicable, or otherwise.



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         N.        The relief granted hereby is necessary to effectuate the purposes and objectives of

chapter 15 and to protect the Debtor and its interests.

BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE DELIBERATION
AND SUFFICIENT CAUSE APPEARING THEREFORE, IT IS HEREBY ORDERED THAT:

         1.        The relief requested in the Motion is granted on an interim basis pending final

hearing on recognition.

         2.        Section 362 of the Bankruptcy Code shall apply with respect to the Debtor and its

property within the territorial jurisdiction of the United States.

         3.        Notwithstanding anything to the contrary contained herein, nothing in this Order

serves to grant any injunction that is prohibited under section 1519(d) of the Bankruptcy Code.

         4.        Notwithstanding anything to the contrary contained herein or provision in the

Bankruptcy Rules to the contrary: (a) this Order shall be effective immediately and enforceable

upon entry; (b) the Foreign Representative is not subject to any stay in the implementation,

enforcement, or realization of the relief granted in this Order; (c) the Foreign Representative is

authorized and empowered, and may, in his discretion and without further delay, take any action

and perform any act necessary to implement and effectuate the terms of this Order; and (d) for the

avoidance of doubt, and without limiting the effects of any future relief that may be granted by the

Court, nothing in this Order shall restrict the Foreign Representative's ability to use, access,

administer or realize the Debtor’s property within the territorial jurisdiction of the United States.

The terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.

         5.        This Court shall retain jurisdiction with respect to the enforcement, amendment, or

modification of this Order, any requests for additional relief or any adversary proceeding brought




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in and through this Chapter 15 Case, and any request by an entity for relief from the provisions of

this Order, for cause shown, that is properly commenced and within the jurisdiction of this Court.

         6.        This Order applies to all parties in interest in this Chapter 15 Case and all of their

agents, employees, and representatives, and all those who act in concert with them who receive

notice of this Order.

        Signed: May ___, 2025
     Signed: May 01, 2025

                                                          ALFREO  R. PEREZ
                                                                _____________________________
                                                          UNITEDAlfredo
                                                                 STATES   BANKRUPTCY JUDGE
                                                                        R Pérez
                                                                  United States Bankruptcy Judge




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